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Exhibit A
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l UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
TRENTON DIVISION
Case No. 3:20-cv-13509-FLW-DEA
ANDREW RITZ AND MICHAEL RITZ, )
5 )
Plaintiffs, }
6 )
-vs- }
7 )
NISSAN-INFINITI LT; TRANS )
8 UNTON, LLC; EQUIFAX )
INFORMATION SERVICES, LLC; and)
9 EXPERIAN INFORMATION SOLUTIONS, )
INC., )
10 )
Defendants. }
11
12
13 DEPOSITION OF ALLISON EDMOND
14 The deposition upon oral examination of
ALLISON EDMOND, a witness produced and sworn before
15 me, Craig Williams, RPR, CMRS, a Notary Public in
and for the County of Marion, State of Indiana,
16 taken on behalf of the Plaintiffs, via remote Zoom
videoconference, on the 2nd day of August 2021,
17 scheduled to start at 9:00 a.m., pursuant to the
Federal Rules of Civil Procedure with written
18 notice as to Lime and place thereof.
19
20
21
22
23
24
25

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it's my job to analyze whatever facts have

been presented to me by a contracted party and

a then forward that on to that specific department
4 in Account Services to reréview it, fully

5 investigate it, and handle it as they see Fit

6 after their investigation.

7 o I'm just going to ask this one more time just to
8 - see if I can get an answer for this. So you

9 just again told me what you do. My question

10 isn't about what you do. My question is about
11 how you decide, having done those things that
12 you do, whether something is accurate. How do
i3 you’ come to know wnether it is or it isn't?

14 MR. SIMOES: Objection as to form.

15 a Not what do you do. After having looked at

16 having that you did, looked at ail the

17 documents, looked at facts, what measure are you
18 uSing, what standard are you using to say this
19 2S accurate, this is not accurate?

20 MR. SIMOES: Objection as to form.

21 A All I can do is surmise from what I've reviewed
22 at the facts at hand. And that's why I forward
23 it to a department that has specifically been

24 trained to investigate and analyze any type of
25 credit bureau credit reporting data to handle

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